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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


S.B.,

               Plaintiff,

v.                                                     Case No.: 4:16cv613-MW-CAS

FLORIDA AGRICULTURAL AND MECHANICAL
UNIVERSITY BOARD OF TRUSTEES,

               Defendant.

___________________________/

            ORDER DENYING DEFENDANT’S MOTION FOR
     PLAINTIFF TO BE REFERRED TO BY HER FULL NAME AT TRIAL

        Plaintiff, S.B. 1, is suing Florida Agricultural and Mechanical University’s

Board of Trustees (“FAMU”) under Title IX of the Education Amendments of

1972, 20 U.S.C. § 1681(a). This Court has previously issued an Order stating that

Plaintiff may proceed anonymously. See ECF No. 77. Notwithstanding that Order,

at this juncture FAMU filed a motion for Plaintiff to be referred to by her full name

at trial pursuant to Federal Rule of Civil Procedure 10. ECF No. 99. Plaintiff filed

an opposition to FAMU’s motion. ECF No. 106. For the reasons discussed below,

FAMU’s motion, ECF No. 99, is DENIED.


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  This Order refers to Plaintiff by her initials to protect her identity. This Court has already ruled
that Plaintiff may proceed anonymously. ECF No. 77.
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       FAMU argues that Plaintiff should be referred to by her name at trail for two

main reasons: (1) “it gives the jurors and the public the impression that [this] Court

has already made a determination regarding Plaintiff’s status as a victim of rape

and sexual battery and implies that S.B. was a juvenile when she was a student at

FAMU,” and (2) it is “fundamentally unfair to FAMU, FAMU’s employees, and

Plaintiff’s alleged perpetrators because all individuals and organizations have been

subjected to negative public scrutiny and will continue to be at trial.” ECF No. 99,

at 5–6, 10–11.

       Considering FAMU’s first concern, FAMU’s counsel could easily explain to

the jury that there has been no judicial determination that Plaintiff was a victim of

sex crimes, and that FAMU contests that she was. FAMU could highlight that

Plaintiff’s allegations are, after all, simply allegations. FAMU could also explain to

the jury that it is not uncommon for alleged rape victims to be referred to by

pseudonyms or their initials, and that nothing should be inferred about the veracity

of Plaintiff’s claims by virtue of that anonymity. Moreover, FAMU could easily

explain to the jury that Plaintiff was not a minor at the time of the alleged sexual

assaults, as that is not a contested fact. FAMU, of course, could ask this Court to so

instruct the jury.

       Considering FAMU’s second concern, although this Court understands that

FAMU has been subject to negative public scrutiny, FAMU or its employees are
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not alleging that they were sexually assaulted. FAMU does not seem to

acknowledge the severity, seriousness, sensitivity, or personal nature of rape

allegations. As highlighted in this Court’s previous Order, FAMU “is not accused

of culpability for committing a sex crime itself.” ECF No. 77 at 4. Moreover, the

alleged perpetrators are not parties to the instant suit, and they are free to testify at

trial should they wish to do. FAMU had the option to—but chose not to—file a

motion requesting this Court to use pseudonyms or initials for the alleged

assailants. Outing an alleged rape victim simply because other parties or

individuals involved in the lawsuit are not proceeding anonymously serves no

legitimate public interest. Finally, this Court is not persuaded by FAMU’s reliance

on National Rifle Association of America, Inc. v. Pam Bondi, No. 4:18-cv-00137-

MW-CAS (N.D. Fla. May 13, 2018) (Walker, J.) as that case did not involve a rape

victim.

      This Court understands the concerns of FAMU and carefully considered the

sensitive issues raised. However, this Court still stands by its previous Order that

Plaintiff may proceed anonymously. See ECF No. 77. Without summarizing this

Court’s previous Order, see ECF No. 77, this Court finds that nothing has changed

since the issuance of that Order, and that Plaintiff still “has a substantial privacy

right which outweighs ‘the customary and constitutionally-embedded presumption
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of openness in judicial proceedings.’” Doe v. Frank, 951 F.2d 320, 323 (11th Cir.

1992) (quoting Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. Unit A Aug. 1981)).

      Accordingly, FAMU’s motion for Plaintiff to be referred to by her full name

at trial, ECF No. 99, is DENIED.

      SO ORDERED on March 27, 2019.


                                      s/Mark E. Walker               ____
                                      Chief United States District Judge
